                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


IN RE:                                              )
                                                    )
NASHVILLE PHARMACY SERVICES, LLC                    )         Case No. 3:18-bk-08144
a/k/a NPS PHARMACY,                                 )         Chapter 11
                                                    )         Judge Marian F. Harrison
               Debtor                               )


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of each of the following documents was served

the 10th day of December, 2018 via email, facsimile, or overnight delivery upon the parties on the

attached Service List:

       (1)    Expedited Motion for an Order Pursuant to Bankruptcy Rule 1007(c) Granting an
Extension of Time for Filing Schedules and Statements (Docket No. 7)

      (2)     Expedited Motion to Designate an Additional Person to Act on Behalf of Debtor
(Docket No. 9)

        (3)   Expedited Motion for an Order Authorizing Payment of Prepetition Compensation,
Employee Reimbursements, Withholding Taxes, and Contributions, Costs, and Expenses Incident
to Certain Employee Benefit Plans and for Authority to Continue all Employee Benefit Programs
(Docket No. 10)

       (4)   Motion for Interim and Final Orders Authorizing Debtor to Use Cash Collateral,
Providing Adequate Protection, and Prescribing Form and Manner of Notice and Time for Final
Hearing (Docket No. 11)

       (5)     Declaration of Chad Goodson in Support of First Day Motions (Docket No. 12)

       (6)     Expedited Motion to Set Emergency Hearing on First Day Motions (Docket No. 13)

      (7)     Proposed Expedited Order Setting Emergency Hearing on First Day Motions
(Docket No. 14)

        (8)    Application of the Debtor for an Order Pursuant to Bankruptcy Code Sections 327
and 329 and Bankruptcy Rule 2014 Authorizing the Employment and Retention of Bass, Berry &
Sims PLC as Bankruptcy Counsel to the Debtor and Debtor-In-Possession Nunc Pro Tunc to the
Petition Date (Docket No. 15)




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       (9)    Declaration of Glenn B. Rose in Support of Application of the Debtor for Order
Pursuant to Bankruptcy Code Sections 327(a) and 329 and Bankruptcy Rules 2014 and 2016
Authorizing Employment and Retention of Bass, Berry & Sims PLC as Bankruptcy Counsel to the
Debtor and Debtor-In-Possession Nunc Pro Tunc to the Petititon Date (Docket No. 16)

       (10) Motion for an Order Approving Debtor NPS’s (I) Assumption of Agreement for
Restructuring Advisory Services with Tortola Advisors, LLC and (II) Employment of Tortola
Advisors, LLC as Restructuring and General Business Advisors (Docket No. 18)

         (11)   Declaration of Steve Curnutte (Docket No. 19)

         (12)   Expedited Order Setting Emergency Hearing on First Day Motions (Docket No. 20)

                                                    Respectfully submitted,

                                                    /s/ Glenn B. Rose
                                                    Glenn B. Rose, TN Bar No. 10598
                                                    Paul G. Jennings, TN Bar No. 14367
                                                    Gene L. Humphreys, TN Bar No. 21807
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                                                 Proposed Counsel for Debtor Proposed Counsel
                                                 for Debtor
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